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 6
     Bryan Estrada

 7
                            UNITED STATES DISTRICT COURT
 8
                           CENTRAL DISTRICT OF CALIFORNIA
 9

10   Bryan Estrada,                                   Case No. 5:20-cv-219
11
                      Plaintiff,                      COMPLAINT
12

13
                      v.
14

15   CHW Las Haciendas Development, LLC;
16   Bird Family Tire and Auto and Does 1-10,
     inclusive,
17

18
                      Defendants.
19

20         Plaintiff, Bryan Estrada, hereby complains and alleges as follows:
21

22
                                   NATURE OF THE ACTION
23
                  1. This is an action seeking to remedy unlawful discrimination by
24
     the Defendants against the Plaintiff in the Defendants’ places of public
25
     accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
26

27

28                                          -1-
                                          COMPLAINT
29

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 1
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
 2   § 51, et seq.] (the “Unruh Act”).
 3

 4                                         PARTIES
 5                2. Plaintiff, Bryan Estrada, is paraplegic, requires the use of a
 6   wheelchair for mobility purposes, and is therefore a “person with a disability”
 7
     within the meaning of the ADA and Cal. Government Code § 12926.
 8
                  3. The Defendants (defined below) discriminated against
 9
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
10
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
11
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
12
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
13

14
                  4. The Defendant’s failure to make reasonable modifications in

15   policies, practices, or procedures when such modifications are necessary to afford
16   goods, services, facilities, privileges, advantages, or accommodations to
17   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
18   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
19   12182(b)(2)(A)(ii)].
20                5. Defendant, CHW Las Haciendas Development, LLC, owns,
21
     operates, or leases real property located at 28600 Del Rio Rd, Temecula, CA
22
     92590, also known as Riverside County Assessor’s Parcel No. 921-050-019 (the
23
     “Subject Property”).
24
                  6. Defendant, Bird Family Tire and Auto, owns, operates, or leases
25
     real property located at the “Subject Property.”
26
                  7. The Subject Property is a commercial facility open to the general
27

28                                            -2-
                                            COMPLAINT
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 1
     public, is a public accommodation, and is a business establishment insofar as
 2   goods and/or services are made available to the general public thereat. Defendant
 3   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 4   names and capacities are unknown to the Plaintiff. When their true names and
 5   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 6   true names and capacities herein. Plaintiff is informed and believes and thereon
 7
     alleges that each of the fictitiously named Defendants are responsible in some
 8
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
 9
     alleged were proximately caused by those Defendants.
10

11
                                JURISDICTION AND VENUE
12
                   8.   This Court has jurisdiction over the subject matter of this action
13

14
     pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for

15   violations of the ADA.
16                 9.   This Court has supplemental jurisdiction over the state law
17   claims alleged herein under the Unruh Act because the state law claim is an
18   attendant and related cause of action that arises from the same nucleus of operative
19   facts and arising out of the same transaction or occurrence as the federal law
20   claims set forth herein.
21
                   10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
22
     based on the fact that the real property that is the subject of this action is located in
23
     this district and the Plaintiff’s causes of action arose in this district.
24

25

26

27

28                                             -3-
                                             COMPLAINT
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 1
                                 STATEMENT OF FACTS
 2                11. Parking spaces, accessible aisles, paths of travel, signage,
 3   doorways, service counters, customer areas and goods/services are among the
 4   facilities, privileges and advantages offered by the Defendants to patrons of the
 5   Subject Property.
 6                12.    The Subject Property does not comply with the minimum
 7
     requirements of the ADA and is therefore not equally accessible to Plaintiff or
 8
     similarly situated persons with mobility disabilities.
 9
                  13.    In November, 2019 and continuously from that time to the
10
     present, and currently, the Subject Property has not been in compliance with the
11
     ADA (the “Barriers”):
12
                         A.    The Subject Property lacks the minimum required
13

14
     number of ADA compliant accessible parking spaces.

15                       B.    There was no diagonal striped marking and no blue
16   border around where an access aisle is supposed to exist adjacent to any designated
17   accessible parking space(s) serving the Subject Property.
18                       C.    The designated “accessible” parking space(s) and/or blue
19   striped access aisles provided at the Subject Property are smaller than permitted by
20   the ADA.
21
                         D.    The designated “accessible” parking spaces at the Subject
22
     Property do not provide accessible parking signage as required by the ADA.
23
     Among other things, they fail to provide tow-away signage and “Minimum Fine
24
     $250” signage as required by the ADA and state law to be posted near the
25
     designated accessible parking space(s).
26

27

28                                           -4-
                                           COMPLAINT
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 1
                         E.    The designated “accessible” parking spaces at the Subject
 2   Property do not provide the universal symbol of accessibility.
 3                       F.    There is no twelve-inch high “NO PARKING” lettering
 4   on the blue-striped parking access aisle(s) serving the Subject Property.
 5                       G.    There was no designated “van accessible” parking space
 6   with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
 7
     going forward into the parking space and no sign or additional language stating
 8
     “Van Accessible” below the symbol of accessibility located in a manner that is not
 9
     obstructed.
10
                         H.    There were no accessible paths of travel from public
11
     transportations stops, accessible parking, public streets and sidewalks to the
12
     building entrances serving the Subject Property.
13

14
                   14.   Plaintiff personally encountered one or more of the Barriers

15   at the Subject Property in November, 2019.
16                 15.   From November, 2019 to the present, the Plaintiff has been
17   deterred from the Subject Property because of his knowledge of the existence of
18   Barriers.
19                 16.   The existence of Barriers, the implementation of discriminatory
20   policies, practices and procedures, and other ADA violations at the Subject
21
     Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
22
     dissuaded or deterred Plaintiff from accessing the Subject Property on particular
23
     occasions between November, 2019 and the present.
24
                   17.   Plaintiff would like to return and patronize the Subject Property
25
     and use the business establishments thereat and intends to do so in the near future
26
     but will be deterred from doing so until all ADA violations are remediated.
27

28                                           -5-
                                           COMPLAINT
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 1
                  18.    On information and belief, the remediation of violations
 2   identified hereinabove, to be identified by the Defendants in discovery, and to be
 3   discovered by Plaintiff’s experts are all readily achievable in that the removal of
 4   them by the Defendants is and has been easily accomplishable without much
 5   difficulty or expense.
 6                19.    Defendants violated the ADA by failing to remove all mobility-
 7
     related architectural barriers at the Subject Property. On information and belief,
 8
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
 9
     intentional because the barriers described herein are clearly visible and tend to be
10
     obvious even to a casual observer and because the Defendants operate the Subject
11
     Property and have control over conditions thereat and as such they have, and have
12
     had, the means and ability to make the necessary remediation of access barriers if
13

14
     they had ever so intended.

15                20.    On information and belief, access barriers at the Subject
16   Property are being consciously ignored by the Defendants; the Defendants have
17   knowingly disregarded the ongoing duty to remove the Barriers in compliance with
18   the ADA. Plaintiff further alleges on information and belief that there are other
19   ADA violations and unlawful architectural barriers at the Subject Property that
20   relate to Plaintiff’s mobility disability that will be determined in discovery, the
21
     remediation of which is required under the ADA.
22
                  21.    Plaintiff hereby seeks to remediate and remove all barriers
23
     related to his disability, whether presently known or unknown. As the court held
24
     in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
25
           “[W]here a disabled person has Article III standing to bring a claim for
26
           injunctive relief under the ADA because of at least one alleged statutory
27         violation of which he or she has knowledge and which deters access to, or
28                                            -6-
                                            COMPLAINT
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 1
           full use and enjoyment of, a place of public accommodation, he or she may
           conduct discovery to determine what, if any, other barriers affecting his or
 2         her disability existed at the time he or she brought the claim. This list of
 3         barriers would then in total constitute the factual underpinnings of a single
           legal injury, namely, the failure to remove architectural barriers in violation
 4
           of the ADA, which failure actually harmed the disabled person by deterring
 5         that disabled person from visiting a facility that otherwise would have been
 6         visited at a definite future time, yielding Article III standing.”
 7
                  22.    Even if strictly compliant barrier removal were determined to
 8
     be structurally or otherwise impracticable, there are many alternative methods of
 9
     providing accommodations that are readily apparent and that could provide a
10
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
11
     the Defendants’ discriminatory policies, practices and procedures and Defendants’
12
     conscious indifference to their legal obligations and to the rights of persons with
13

14
     mobility disabilities. Defendants’ failure to implement reasonable available

15   alternative methods of providing access violates the ADA [42 U.S.C. §
16   12182(b)(2)(A)(v)].
17                23.    The violations and references to code sections herein are not
18   all-inclusive. Plaintiff will amend this complaint to provide a complete description
19   of the full scope of ADA violations after conducting a comprehensive expert site
20   inspection and other discovery. For the purposes of this Complaint, Plaintiff
21
     asserts that the barriers alleged herein violate one or more of the ADA’s
22
     implementing regulations. The Defendants have maintained and continue to
23
     maintain discriminatory policies, procedures and practices that disregard their
24
     obligations under the ADA by allocating resources for physical improvements to
25
     the Subject Property that were did not provide legally required accessibility
26
     improvements, by failing to conduct ADA self-inspections or create ADA
27

28                                           -7-
                                           COMPLAINT
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 1
     compliance plans regarding the Subject Property, by causing alterations to be made
 2   to the Subject Property in disregard of ADA requirements, and for failing and
 3   refusing to make necessary accommodations for persons with mobility disabilities
 4   at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
 5   rights compliance policies, procedures and practices are discriminatory and violate
 6   the ADA.
 7

 8
                               FIRST CAUSE OF ACTION
 9                            Discrimination Based on Disability
10
                                 [42 U.S.C. §§ 12101, et seq.]
                              By Plaintiff against all Defendants
11

12
                  24.    Plaintiff re-alleges and incorporates by reference as though
13
     fully set forth herein the allegations contained in all prior paragraphs of this
14
     complaint.
15
                  25.    The ADA obligates owners, operators, lessees and lessors of
16
     public accommodations to ensure that the privileges, advantages, accommodations,
17
     facilities, goods and services are offered fully and equally to persons with
18

19
     disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
20   12182(a)].
21                26.    Discrimination is defined in the ADA, inter alia, as follows:
22                       A.     A failure to remove architectural barriers where such
23   removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
24   barriers are identified and described in the Americans with Disabilities Act
25
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
26
                         B.     A failure to make alterations in such a manner that, to the
27
     maximum extent feasible, the altered portions of the facility are readily accessible
28                                            -8-
                                            COMPLAINT
29

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 1
     to and usable by individuals with disabilities, including individuals who use
 2   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
 3   the altered area and the bathrooms, telephones, and drinking fountains serving the
 4   altered area, are readily accessible to and usable by individuals with disabilities [42
 5   U.S.C. § 12183(a)(2)].
 6                       C.    Where an entity can demonstrate that the removal of a
 7
     barrier is not readily achievable, a failure to make such goods, services, facilities,
 8
     privileges, advantages, or accommodations available through alternative methods
 9
     if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
10
                         D.    A failure to make reasonable modifications in
11
     policies, practices, or procedures, when such modifications are necessary to afford
12
     such goods, services, facilities, privileges, advantages, or accommodations to
13

14
     individuals with disabilities, unless the entity can demonstrate that making such

15   modifications would fundamentally alter the nature of such goods, services,
16   facilities, privileges, advantages, or accommodations [42 U.S.C. §
17   12182(b)(2)(A)(ii)].
18                27.    The ADA, the ADAAG’s 1991 Standards (the “1991
19   Standards”) and 2010 Standards (the “2010 Standards”), and the California
20   Building Code (the “CBC”) contain minimum standards that constitute legal
21
     requirements regarding wheelchair accessibility at places of public
22
     accommodation:
23
                         A.    If parking spaces are provided for self-parking by
24
     employees or visitors, or both, then the subject property must provide at least the
25
     minimum required number of accessible parking spaces. Accessible parking
26
     spaces must be marked to define their width and must have an adjacent ADA
27

28                                           -9-
                                           COMPLAINT
29

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 1
      compliant access aisle. Accessible parking spaces must be at least 96 inches wide
 2    and van parking spaces must be at least 132 inches wide except that van parking
 3    spaces can be 96 inches wide where the access aisle is not less than 96 inches
 4    wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
 5    Subject Property does not comply with the ADA.
 6                       B.    To qualify as a reserved handicap parking space, the
 7
      space must be properly marked and designated. Under the ADA, the method,
 8
      color of marking and length of the parking space are to be addressed by state or
 9
      local laws of regulations [1991 Standards § 4.6; 2010 Standards §§ 502, 502.3.3
10
      and 503].
11
                         C.    To properly and effectively reserve a parking space for
12
      persons with disabilities, each parking space must be at least 216 inches in length
13

14
      [CBC § 11B-502.2].

15                       D.    Each parking space reserved for persons with disabilities
16    shall be identified by a reflectorized sign permanently posted immediately
17    adjacent to and visible from each stall or space, consisting of the International
18    Symbol of Accessibility in white on a dark blue background. The sign shall not be
19    smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
20    shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
21
      the sign to the parking space finished grade. Signs may also be centered on the
22
      wall at the interior end of the parking space. An additional sign or additional
23
      language below the symbol of accessibility shall state "Minimum Fine $250"
24
      [2010 Standards § 502.6; CBC § 1129B.4].
25
                         E.    Signs identifying accessible parking spaces must include
26
      the International Symbol of Accessibility [2010 Standards §§ 502.6].
27

28                                           -10-
                                           COMPLAINT
 29

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 1
                        F.    To properly and effectively reserve a parking space for
 2    persons with disabilities, the surface of the access aisle must have a blue
 3    border; the words “NO PARKING” in letters at least a foot high must be
 4    painted on the access aisle [CBC § 1129B.3].
 5                      G.    One in every eight accessible spaces, but not less than
 6    one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
 7
      wide minimum placed on the side opposite the driver’s side when the vehicle is
 8
      going forward into the parking space and shall be designated van accessible. Van
 9
      accessible spaces must have an additional sign or additional language stating "Van
10
      Accessible" below the symbol of accessibility. Signs identifying accessible
11
      parking spaces must be located so they cannot be obscured by a vehicle parked in
12
      the space [1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
13

14
      and B4].

15                      H.    At least one accessible route must be provided from
16    public transportation stops, accessible parking, and accessible passenger
17    loading zones, and public streets or sidewalks to the accessible building
18    entrance they serve. The accessible route must, to the maximum extent
19    feasible, coincide with the route for the general public, must connect
20    accessible buildings, facilities, elements, and spaces that are on the same
21
      site, and at least one accessible route must connect accessible building or
22
      facility entrances with all accessible spaces and elements and with all
23
      accessible dwelling units within the building or facility [1991 Standards §§
24
      4.1.2(1) and 4.3.2; 2010 Standards §§ 206 and 401].
25
                  28.   The Defendants have failed to comply with minimum
26

27

28                                          -11-
                                          COMPLAINT
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 1
      ADA standards and have discriminated against Plaintiff on the basis of
 2    Plaintiff’s mobility disability. Each of the barriers and accessibility
 3    violations set forth above is readily achievable to remove, is the result of an
 4    alteration that was completed without meeting minimum ADA standards,
 5    or could be easily remediated by implementation of one or more available
 6    alternative accommodations. Accordingly, the Defendants have violated
 7
      the ADA.
 8
                  29.    The Defendants are obligated to maintain in operable
 9
      working condition those features of the Subject Property’s facilities and
10
      equipment that are required to be readily accessible to and usable by
11
      Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
12
      36.211(a)]. The Defendants failure to ensure that accessible facilities at the
13

14
      Subject Property were available and ready to be used by the Plaintiff

15    violates the ADA.
16                30.    The Defendants have a duty to remove architectural
17    barriers where readily achievable, to make alterations that are consistent
18    with minimum ADA standards and to provide alternative accommodations
19    where necessary to provide wheelchair access. The Defendants benign
20    neglect of these duties, together with their general apathy and indifference
21
      towards persons with disabilities, violates the ADA.
22
                  31.    The Defendants have an obligation to maintain policies,
23
      practices and procedures that do not discriminate against the Plaintiff and
24
      similarly situated persons with mobility disabilities on the basis of their
25
      disabilities. The Defendants have maintained and continue to maintain a policy
26
      of disregarding their obligations under the ADA, of allocating resources for
27

28                                           -12-
                                           COMPLAINT
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 1
      improvements insufficient to satisfy legal requirements regarding accessibility
 2    improvements, of failing to conduct ADA self-inspections or create ADA
 3    compliance plans, of causing alterations to be made to the Subject Property in
 4    disregard of ADA requirements, and of failing and refusing to make necessary
 5    accommodations for persons with mobility disabilities at the Subject Property, in
 6    violation of the ADA.
 7
                   32.    The Defendants wrongful conduct is continuing in that
 8
      Defendants continue to deny full, fair and equal access to their business
 9
      establishment and full, fair and equal accommodations, advantages,
10
      facilities, privileges and services to Plaintiff as a disabled person due to
11
      Plaintiff’s disability. The foregoing conduct constitutes unlawful
12
      discrimination against the Plaintiff and other mobility disabled persons
13

14
      who, like the Plaintiff, will benefit from an order that the Defendants

15    remove barriers and improve access by complying with minimum ADA
16    standards.
17

18                             SECOND CAUSE OF ACTION
19
                               Violations of the Unruh Rights Act
                                [Cal. Civil Code § 51, et seq.]
20                             By Plaintiff against all Defendants
21

22                 33.     Plaintiff re-alleges and incorporates by reference as though
23    fully set forth herein the allegations contained in all prior paragraphs of this
24    complaint.
25
                   34.    The foregoing violations of the ADA constitute per se
26
      violations of the Unruh Act [Cal. Civil Code § 51(f)].
27

28                                             -13-
                                             COMPLAINT
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 1
                  35.   Plaintiff personally encountered Barriers at the Subject
 2    Property and has experienced, difficulty, discomfort or embarrassment or
 3    has been reasonably dissuaded or deterred from accessing the Subject
 4    Property on particular occasions due to ADA violations which would have
 5    actually denied Plaintiff full and equal access if he had attempted to access
 6    the Subject Property on those particular occasions.
 7
                  36.   Due to the unlawful discrimination set forth above,
 8
      Plaintiff has been denied the right and entitlement to full and equal
 9
      accommodations, advantages, facilities, privileges or services by the
10
      Defendants at the Subject Property in violation of the Unruh Act.
11

12
                                PRAYER FOR RELIEF
13

14
            Plaintiff prays to this Court for injunctive, declaratory and all other

15    appropriate relief under the ADA and the Unruh Act, including but not
16    limited to reasonable attorney’s fees, litigation expenses and costs of suit
17    pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
18          Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
19
            not seek injunctive relief under the Disabled Persons Act at all.
20    Respectfully submitted,
21
      Dated: February 3, 2020       LAW OFFICES OF ROSS CORNELL, APC
22

23

24                                  By:         /s/ Ross Cornell
                                           Ross Cornell, Esq.,
25
                                           Attorneys for Plaintiff,
26                                         Bryan Estrada
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28                                          -14-
                                          COMPLAINT
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